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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION


UMG Recordings, Inc. et al.

-vs-                                                        Case No.:     1:17-cv-00365-LY




Grande Communications Networks LLC, et al



                         MOTION FOR ADMISSION PRO HAC VICE


TO THE HONORABLE JUDGE OF SAID COURT:

                             Jennifer E. Hoekel
       Comes now ________________________________________, applicant herein, and

moves this Court to grant admission to the United States District Court for the Western District of

                                        Grande and Patriot
Texas pro hac vice to represent ________________________________ in this case, and would

respectfully show the Court as follows:

1.     Applicant is an attorney and a member of the law firm (or practices under the name of)

                                Armstrong Teasdale LLP
       _________________________________________________________________________,

       with offices at

               Mailing address:         7700 Forsyth Blvd., Suite 1800
                                        ________________________________________________

               City, State, Zip Code:          St. Louis, Missouri 63105
                                              ___________________________________________

               Telephone:               314-621-5070
                                        ________________________________________________

               Facsimile:               314-621-5065
                                        ________________________________________________
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2.                10/04/1996
     Since _______________________, Applicant has been and presently is a member of and in

                                                            Missouri
     good standing with the Bar of the State of _______________________________.

                                                45800
     Applicant’s bar license number is _______________________.

3.   Applicant has been admitted to practice before the following courts:

     Court:                                              Admission date:

     SEE ATTACHED LIST
     ______________________________                      ______________________________

     ______________________________                      ______________________________

     ______________________________                      ______________________________

     ______________________________                      ______________________________

4.   Applicant is presently a member in good standing of the bars of the courts listed above,

     except as provided below (list any court named in the preceding paragraph before which

     Applicant is no longer admitted to practice):

     n/a
     ________________________________________________________________________

     ________________________________________________________________________

5.   Applicant has never been subject to grievance proceedings or involuntary removal

     proceedings while a member of the bar of any state or federal court, except as provided

     below:

     n/a
     ________________________________________________________________________

     ________________________________________________________________________

6.   Applicant has not been charged, arrested, or convicted of a criminal offense or offenses,

     except as provided below (omit minor traffic offenses):

     n/a
     ________________________________________________________________________


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Jennifer E. Hoekel, 45880MO
jhoekel@armstrongteasdale.com
mharris@armstrongteasdale.com


                                        Admissions

Missouri, 1996

Illinois, 1997

Nevada, 2012

U.S. Patent and Trademark Office, 2001

U.S. Court of Appeals, Federal Circuit, 2004

U.S. Court of Appeals, Eighth Circuit, 1999

U.S. District Court, Eastern District of Missouri, 1997

U.S. District Court, Southern District of Illinois, 1997

U.S. District Court, Western District of Michigan, 2004

U.S. District Court, Western District of Wisconsin, 2011
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7.    Applicant has read and is familiar with the Local Rules of the Western District of Texas and

      will comply with the standards of practice set out therein.

8.    Select one:

      G      Applicant has on file an application for admission to practice before the United

             States District Court for the Western District of Texas.

      G      Applicant has co-counsel in this case who is admitted to practice before the United

             States District Court for the Western District of Texas.

             Co-counsel:              J. Stephen Ravel
                                      ________________________________________________

             Mailing address:         303 Colorado, Ste. 2000
                                      ________________________________________________

             City, State, Zip Code:          Austin, TX 78701
                                             ___________________________________________

             Telephone:               (512) 495-6429
                                      ________________________________________________

9.    Should the Court grant applicant’s motion, Applicant shall tender the amount of $100.00

      pro hac vice fee in compliance with Local Court Rule AT-1(f)(2) [checks made payable

      to: Clerk, U.S. District Court].

10.   Should the Court grant applicant's motion, Applicant shall register as a filing user within 10

      days of this order, pursuant to Administrative Policies and Procedures for Electronic Filing

      in Civil and Criminal Cases in the Western District of Texas.




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Wherefore, Applicant prays that this Court enter an order permitting the admission of

                Jennifer E. Hoekel                   to the Western District of Texas pro hac vice

for this case only.

                                             Respectfully submitted,


                                                            Jennifer E. Hoekel
                                             [printed name of Applicant]



                                             [signature of Applicant]



                                 CERTIFICATE OF SERVICE

       I hereby certify that I have served a true and correct copy of this motion upon each
attorney of record and the original upon the Clerk of Court on this the 13th day of
              June               ,    2018      .


                                                            Jennifer E. Hoekel
                                             [printed name of Applicant]



                                             [signature of Applicant]




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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION


UMG Recordings, Inc. et al.
-vs-                                                                   Case No. 1:17-cv-00365-LY



Grande Communications Networks LLC, et al

                                                 ORDER


       BE IT REMEMBERED on this the ________ day of ________________, 20____, there

was presented to the Court the Motion for Admission Pro Hac Vice filed by

     Jennifer E. Hoekel
___________________________                                 Grande and Patriot
                            (“Applicant”), counsel for __________________________ and

the Court, having reviewed the motion, enters the following order:

       IT IS ORDERED that the Motion for Admission Pro Hac Vice is GRANTED, and Applicant

                              Grande and Patriot
may appear on behalf of _____________________________ in the above case.

       IT IS FURTHER ORDERED that Applicant, if Applicant has not already done so, shall,

in compliance with Local Court Rule AT-1(f)(2), immediately tender the amount of $100.00,

made payable to: Clerk, U.S. District Court.

       IT IS FURTHER ORDERED that Applicant, pursuant to the Administrative Policies and

Procedures for Electronic Filing in Civil and Criminal cases in the Western District of Texas, shall

register as a filing user within 10 days of the date of this Order.

       IT IS FINALLY ORDERED that Applicant’s Pro Hac Vice status shall not become effective

until Applicant has complied with all provisions of this Order.

       SIGNED this the ________ day of _____________________ 20____.


                                                     _______________________________________
                                                     UNITED
                                                     UNITED STATES
                                                             STATES DISTRICT
                                                                     DISTRICT JUDGE
                                                                              JUDGE

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